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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF NEW HAMPSHIRE


SPORTS ENTERPRISES, INC., an Oregon
corporation,

                          Plaintiff,                   Case No.

               v.

RSUI INDEMNITY COMPANY, a New
Hampshire corporation,

                          Defendant.



                            COMPLAINT AND JURY DEMAND

       The plaintiff Sports Enterprises, Inc. d/b/a the Salem-Keizer Volcanoes (“SEI”), as

judgment creditor to the National Association of Professional Baseball Leagues, Inc. (“National

Association”) and assignee of Tom Volpe (“Volpe” and together with National Association,

collectively, the “Insureds”) brings this action against the defendant RSUI Indemnity Company

(“RSUI”) and alleges as follows:

                                   NATURE OF THE CASE

       1.      This is an action for breach of an insurance contract that arises out of the

wrongful declination of coverage by RSUI with respect to an adversary proceeding brought by

SEI against the Insureds, and other defendants in Marion County Circuit Court in Oregon, Case

No. 21CV06637 (the “Underlying Action”).

       2.      RSUI agreed to insure the National Association of Professional Baseball Leagues,

Inc. (“National Association”) and its officers and directors, under a Directors and Officers

Liability insurance policy effective from March 12, 2020 through March 12, 2021 (the “D&O

Policy”). SEI initiated the Underlying Action, alleging injury based on conduct covered under


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the D&O Policy. The Insureds notified RSUI of the claims. However, RSUI rejected Insureds’

tender of defense.

       3.      The Insureds were both harmed by RSUI’s failure to defend them, with Volpe

incurring substantial legal fees and the National Association suffering a judgement against it for

$5,550,000. Ultimately, SEI settled its claims against Volpe based on allegations that Volpe

breached his fiduciary duties as a member of the board of directors of the National Association, a

Florida non-profit entity, and agent for the president of the National Association. As part of the

settlement, Volpe assigned his claims against RSUI for defense costs and indemnity to SEI. SEI

also obtained a judgment against the National Association in the amount of $5,550,000 based on

SEI’s claims that the National Association breached its fiduciary duties to SEI as a member

(owner) of the National Association. Prior to entry of the judgment, the National Association

dissolved, and the judgment remains unsatisfied. Accordingly, SEI, as a judgment creditor of the

National Association and as assignee of Volpe’s rights as an Insured Person under the D&O

Policy, seeks damages against RSUI for breach of its obligations under the D&O Policy.

                                            PARTIES

       4.      SEI is an Oregon corporation with its principal place of business in Marion

County, Oregon. SEI owns and operates the Salem-Keizer Volcanoes, formerly a minor league

baseball team (the “Volcanoes”).

       5.      Defendant RSUI Indemnity Company, is a New Hampshire insurance company

with its principal place of business located at 945 East Paces Ferry Road, Suite 1800, Atlanta,

Georgia 30326. Defendant holds a certificate of authority to transact insurance in the state of

Oregon from the Oregon Department of Consumer and Business Services.



                                JURISDICTION AND VENUE


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        6.      This court has subject matter jurisdiction pursuant to 28 U.S.C. § 1332 because

the amount in controversy exceeds $75,000 and the dispute is between citizens of different states.

        7.      This court has general jurisdiction over defendant because it is incorporated in

New Hampshire and its principal place of business is in Georgia.

        8.      Venue is proper under 28 U.S.C. § 1391(b)(1) because defendant is an entity

incorporated under the laws of the state of New Hampshire and is therefore subject to this court’s

jurisdiction.

                                            BACKGROUND

        9.      On September 6, 1901, various minor baseball leagues and clubs formed the

National Association to advocate collectively for the rights and benefits of minor league baseball

leagues and minor league clubs nationwide, hereafter collectively referred to as “Minor League

Baseball” or “MiLB.”

        10.     Since at least 1903, the National Association, on behalf of its MiLB club

members, negotiated various agreements with various entities doing business as Major League

Baseball over the years (“MLB”). Specifically, the National Association negotiated and entered

into various professional baseball agreements (“PBA”) with MLB. Since 1903 (until winter

2020), there had been, in some form, a PBA in place between the National Association and

MLB. Each PBA included a term (usually five or ten years) to provide an opportunity for the

parties to update the terms and renegotiate based on market and other changes. But the PBA

always got renewed.

        11.     Unlike other professional sports associations, for example the National Basketball

Association, which has a “G League” that is owned by the NBA, MLB did not have its own

“farm” system. Instead, MLB relied entirely on its relationship with the National Association

and the MiLB clubs to provide the infrastructure and operations necessary for the placement and


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development of players not yet ready for MLB (or players performing injury rehabilitation).

MLB could not operate its minor league farm system without its relationship with the National

Association and the MiLB clubs.

       12.      The PBA governed the relationship between the National Association and MLB

and effectively controlled the relationship between MiLB clubs and their MLB club affiliates.

Each MiLB club executed a one-page uniform Player Development Contract (“PDC”) as the

“one and only” form of working agreement or contract permitted between a major league club

and a minor league club, which essentially just incorporated the terms of the most recent version

of the PBA negotiated by the National Association.

       13.      Thus, for over 100 years, the National Association represented the financial

interests of each of its member clubs, primarily by representing each member club with respect

to their business relationship with an MLB affiliate club.

       14.      In or around 1976, the National Association incorporated as a Florida not-for-

profit corporation under Fla. Stat. § 617 et seq.

       15.      The National Association adopted a set of articles and bylaws pursuant to Fla.

Stat. § 617.0202 and Fla. Stat. § 617.0206 known as the National Association Agreement (as

amended, the “NAA”) to govern the organization.

       16.      State law, the NAA, and over 100 years of organizational practice provided the

framework for governance of the National Association, which included the following:

             a. Establishing a Board of Trustees (“BOT”), the equivalent to a Board of Directors

                based on the definition in Fla. Stat. § 617.01401(2), with all corporate powers of

                the National Association, except for those expressly retained by the members, are

                vested in the BOT. At all material times, Tom Volpe was a member of the BOT.




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             b. Establishing a procedure for electing a President to oversee the business activities

                of the National Association and report to the BOT and, most importantly, to

                exercise “exclusive power” over relations with MLB. At all material times,

                Patrick O’Conner was the President of the National Association.

       17.      By participating in minor league baseball, each of the MiLB clubs gave up rights

to individually negotiate with MLB, thereby placing the biggest contributing factor to the

financial success or failure of each club into the hands of the BOT and the President.

       18.      In 1990, the National Association and MLB agreed to certain modifications to the

prior PBA. Specifically, the 1990 Professional Baseball Agreement (“1990 PBA”) contained

one significant change from previous editions: MLB agreed to at all times have its major league

clubs maintain an affiliation with a minimum number of minor league clubs (at the time,

119 total minor league affiliations). In essence, the 1990 PBA served as a grant of exclusive

right to an affiliation for all National Association members.

       19.      The guaranteed affiliation, in turn, resulted in each MiLB club receiving players

under contract with MLB clubs at little or no cost to the MiLB club. In other words, by being a

MiLB club with an MLB affiliation, MLB paid all the players, even those in the farm system.

As a result, the MiLB clubs did not incur the substantial (and often prohibitive) expense of

paying their players.

       20.      The limited number of guaranteed affiliations also ensured a stable market for

these clubs to be bought and sold, thereby maintaining the market value of the clubs. Other

privileges included territorial protection from infringement by other MiLB clubs and royalties

from certain intellectual property. The NAA also provided for financial compensation to be paid

to impacted MiLB clubs in the event any new non-affiliated club joined the National Association

(essentially a buy-in fee to be paid by the joining club).



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       21.      In 1994, SEI entered into a four-year term PDC (to begin during the 1995 season)

with the MLB club known as the San Francisco Giants (the “Giants”) for SEI (first as the

Bellingham Giants and later as the Volcanoes) to be the Giants’ short season single-A team

affiliate playing in the Northwest League. The PDC incorporated all the terms and conditions as

set forth by MLB and MiLB in the PBA. For the next 26 years, through the end of 2020, SEI

continuously maintained a contractual relationship with the Giants (through two-year extensions

of that PDC).

       22.      The most recent iteration of the PBA occurred in 2004 (the “2004 PBA”), which

was effective from October 1, 2004, through September 30, 2020. The 2004 PBA also expanded

the membership of the National Association and the number of exclusive affiliations that would

be maintained with MLB clubs from 119 to 160.

       23.      In early 2019, MLB began discussions with the National Association regarding

negotiation of a new PBA after the expiration of the 2004 PBA. The National Association had

considerable bargaining power when negotiating with MLB. The National Association

represented all 160 minor league clubs, each with stadiums (either leased or owned), fan bases,

infrastructure (parking, concessions, etc.), contracts with vendors and advertising, and various

licenses and trademarks. Not to mention substantial other key benefits such as, in the case of the

Volcanoes, a network of local host families that housed the MLB players. MLB had over 4,000

minor league players that needed a place to live, practice, and play. Without access to the MiLB

system, it would not have been feasible for MLB to simply find an alternative, thereby

substantially impairing each of the billion-dollar MLB franchises. Not only that, but MLB was

also acutely aware of the public and political backlash it would face from pulling its product out

of so many small (often rural) communities.




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       24.     As part of those initial discussions, MLB proposed the idea of contracting some

minor league clubs as part of the new PBA because MLB wanted to reduce the number of minor

league players that each team had on its payroll. MLB also wanted to have more control over

accommodations and other aspects related to the player-experience.

       25.     On information and belief, MLB’s initial proposal also included the concept of

certain MiLB clubs or independent clubs paying into some type of fund for the benefit of gaining

an affiliation or moving up in classification.

       26.     Initially, the National Association’s president, O’Conner, led the negotiations for

a new PBA on behalf of MiLB.

       27.     During the negotiations, the National Association knew that losing an affiliation

with a major league club would be financially devastating to any MiLB club.

       28.     On November 6, 2019, the BOT held a special meeting and voted to authorize the

President to appoint members of the BOT, including Volpe, to a Negotiating Committee. The

BOT formally passed a resolution to establish a Negotiating Committee to represent MiLB in its

negotiations with MLB. By and through that resolution, O’Conner formally delegated his

“plenary and exclusive power over relations with Major League Baseball” under the NAA to

negotiate a new PBA, to a committee of minor league club owners. The BOT further voted in

that resolution to indemnify members of the Negotiating Committee so long as their actions were

“taken as Committee members in good faith for the benefit of the National Association as a

whole as contemplated in NAA Section 4.02.”

       29.     The BOT members of the Negotiating Committee acknowledged that by serving

on the Negotiating Committee they were acting on behalf of all MiLB clubs as agents for the

President. On November 18, 2019, the Negotiating Committee, including Volpe, sent a letter to

MLB informing MLB that, going forward, the Negotiating Committee “will be representing


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MiLB” in the PBA negotiations. As such, the Negotiating Committee, as members of the

committee and as members of the BOT, owed fiduciary duties to all other members of the

National Association, including SEI, under statute, the terms of the NAA, and 100 years of

history of operation of the National Association.

       30.     During late 2019 and most of 2020, the Negotiating Committee provided regular

updates on the negotiations directly to all MiLB clubs, including SEI, further demonstrating that

members of the Negotiating Committee knew and understood their role as fiduciaries for all

MiLB clubs. Similarly, in part based on these updates, as well as the actual authority of the

National Association to represent MiLB clubs in negotiations with MLB, MiLB clubs, including

the Volcanoes, reasonably believed the National Association, by and through the members of the

Negotiating Committee, were acting as a fiduciary and furthering the interests of all MiLB clubs

in the negotiations with MLB.

       31.     As a member of the National Association, SEI had placed its trust and confidence,

as well as its financial interests with respect to its PDC and the relationship with MLB, in the

hands of the National Association. In fact, by the terms of the NAA, SEI was prohibited from

negotiating directly with MLB. Based on that and the numerous representations by the

Negotiating Committee that it was, in fact, negotiating on behalf of all MiLB clubs, the

Volcanoes did not pursue its own negotiations with MLB or take other steps to secure its future

with MLB during 2020.

       32.     The Negotiating Committee withheld information regarding the negotiations with

MLB from the National Association and its members, including information indicating that MLB

proposed eliminating the National Association and replacing it with a system of franchises or

license agreements entered directly between the major league club and the minor league club




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affiliates. In fact, it was Volpe who first proposed the concept of a franchise system to replace

the PBA.

       33.     Contrary to the representations by the Negotiating Committee, the Negotiating

Committee was secretly negotiating the terms of the new franchise system that MLB wanted. On

May 14, 2020, the Negotiating Committee submitted to MLB a list of 14 “Proposed Agreement

Principles.” As part of those principles, the Negotiating Committee proposed a limited minor

league system of only 120 teams, with two new teams that had not previously been affiliated

with MiLB, a minimum season length of 140 games for all minor league teams, and certain other

restrictions for the “protection of franchise equity values” of the minor league teams. Another

“principle” proposed by the Negotiating Committee stated:

       MLB to indemnify MiLB, its leagues, members and representatives against any
       liability related to a new agreement including but not limited to claims by owners
       of teams that currently have a PDC but MLB has determined will not get a Standard
       License under the new agreement and teams that MLB has determined will receive
       Standard License to play in a lower level league than that team is currently playing
       in.

       34.     In and around May 2020, O’Conner issued a written notice to all minor league

clubs and their representatives, including all members of the Negotiating Committee, reminding

them that pursuant to the terms of the NAA, they were prohibited from entering into “any

negotiation to become a member of or in any way cooperate with any organization of

professional baseball clubs whose existence will in any manner conflict with the letter and spirit

of the [NAA], or the interest of any of the clubs operating under it . . . .” (emphasis added).

       35.     In and around June or July 2020, because of his concerns that members of the

BOT and the Negotiating Committee were acting against the interests of the National

Association, O’Conner disbanded the Negotiating Committee and took back control over the

negotiation with MLB. In early August 2020, O’Conner submitted a proposal to MLB that

included substantial benefits to teams that would lose affiliation or change classification.


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       36.     On information and belief, in response to O’Conner’s actions, the BOT, including

Volpe, held an informal meeting on or about August 7, 2020, and voted to authorize one or more

minor league club owners to contact MLB directly and inform MLB that the BOT would create a

new committee of its members to continue negotiations, all without O’Conner’s consent. On

information and belief, a minor league club owner did in fact contact MLB and indicated that

O’Conner would be replaced in the negotiations with MLB.

       37.     Following the informal vote by the BOT, the BOT established another

Negotiating Committee with BOT members, including Volpe.

       38.     On or about August 27, 2020, MLB responded to the Negotiating Committee’s

Proposed Agreement Principles with its “MiLB Business Plan,” adopting many of the

“principles” proposed by the Negotiating Committee, including a plan to replace the PBA system

with a new franchise-based system and reduce the number of minor league clubs from 160 to

120. Specifically, MLB proposed to: (a) reorganize MiLB into a fewer number of leagues with a

total of 120 affiliated MiLB teams; (b) end its affiliation with 40 other MiLB teams; and

(c) eliminate the National Association and the PBA and replace it with a franchise/license system

involving Professional Development Licenses (“PDLs”) between major league clubs and select

minor league club affiliates.

       39.     Under MLB’s proposal, each major league club would receive four PDLs that it

could issue to four minor league clubs, thereby “entitl[ing] [the chosen club] to similar rights as

existed under the [PBA].” Each PDL would last for 10 years. The MiLB Business Plan further

stated that in the event a PDL “Holder” (i.e., a minor league club) does not receive an affiliation

after the expiration of any 10-year term of the PDL, it would “receive[] [a] guaranteed buyout.”

Notably, MLB further committed as part of any new agreement to meet with MiLB clubs that do




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not receive a PDL in order to “facilitate the form of baseball that is best for that community in

2021 and beyond.”

       40.     With no plan B in place, the National Association had no ability to push back

against the highly unfavorable terms presented by MLB. Ultimately, the Negotiating

Committee, the BOT and the National Association allowed the PBA to expire without a plan B

and left the National Association members, whose teams were not among the 120 teams, without

any MLB affiliation. By failing to come to any agreement with MLB, the National Association,

BOT, and the Negotiating Committee further lost any benefits for MiLB clubs that would not

receive a PDL, which MLB had continuously agreed to provide under any new agreement.

       41.     Notwithstanding its knowledge of MLB’s proposal, on September 30, 2020, the

day the PBA expired, the Negotiating Committee issued the following press release that failed to

mention the new franchise proposal:

       For more than a century, Major League Baseball (MLB) and Minor League
       Baseball (MiLB) have worked together to grow the game of baseball into
       America’s Pastime. The current agreement between MLB and MiLB expires today.
       Minor League Baseball’s negotiators have been meeting with MLB to reach a new
       agreement – one that would continue the relationship with MLB and preserve
       affordable, family-friendly entertainment in each of our 150 communities across
       the nation. Minor League Baseball will continue to work in good faith over the
       coming weeks to reach a well-designed and fair agreement that meets MLB’s player
       development needs and continues the relationship between the two for generations
       to come.

       42.     O’Conner warned of allowing the Negotiating Committee to spearhead

negotiations with MLB because it was comprised of a “group with ‘skin in the game,’ precisely

because those in ownership may have interests (or perceived interests) at odds with the interest

of other owners.”

       43.     The members of the Negotiating Committee acted in their own self-interest and to

the detriment of the other National Association members, including SEI.




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       44.      Following the expiration of the PBA, MLB began entering into direct agreements

with the minor league clubs. On or about December 9, 2020, MLB issued its list of 120 MiLB

teams that would be eligible to receive contracts to affiliate with one of MLB’s 30 member

teams. SEI was not on that list.

       45.      Finally, in early 2021, after repeated inquiries, MLB finally advised that the

Volcanoes had not been selected as an “operator” under one of the PDLs.

       46.      After decades working together towards the common mission of promoting

professional minor league baseball, SEI was failed by the organization that had been entrusted to

represent the interest of SEI and minor league baseball as a whole. SEI is now left with no

league to play in, no coaches, no players, and an empty stadium with no games to play.

       47.      Members of the National Association gave over control of the relationship with

MLB and its clubs to the National Association. Through its actions in 2019 and 2020, the BOT

exercised that control and, as a result, assumed the responsibility to further the economic

interests of SEI and all the member clubs.

       48.      On information and belief, the members of the Negotiating Committee breached

their fiduciary duties to the other members of the National Association by secretly acquiescing to

MLB’s proposal, to the detriment of the 42 minor league clubs that would be excluded.

       49.      National Association’s wrongful acts or omissions as part of the negotiation

include, without limitation:

             a. granting authority to the Negotiating Committee and other club owners to

                negotiate directly with MLB without approval by O’Conner;

             b. failing to use care of an ordinary prudent person to avoid the dissolution of the

                National Association;

             c. failing to keep the membership informed;


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             d. failing to maintain unity of the membership in negotiations with MLB;

             e. failing to take reasonable steps as part of the negotiations with MLB to protect all

                its clubs, such as hiring outside legal counsel;

             f. failing to secure rights or benefits for disaffiliated MiLB clubs, including SEI; and

             g. failing to use reasonable care to negotiate a new PBA for the benefit of the entire

                membership and failing to secure rights or benefits for disaffiliated MiLB clubs,

                including SEI.

       50.      On information and belief, in 2019, MLB established an internal valuation metric

and assigned values to the minor league clubs. Based on MLB’s own internal valuations,

Class A – Long Season (High-A) teams had an estimated value of $10 million.

       51.      As a direct result of the failure to negotiate a new PBA on behalf of all members

of MiLB and SEI’s subsequent disassociation with MiLB, SEI suffered damages in an amount of

$5,550,000, which represents the loss in value to SEI’s ownership of the Volcanoes club (less

other recoveries received).

                                          The D&O Policy

       52.      RSUI issued a Non-Profit Organization Management Liability Policy to the

National Association, Policy No. PP686029. A copy of the D&O Policy is attached as Exhibit 1.

       53.      The policy was a renewal of a prior policy which had provided similar coverage

from March 12, 1999, up to the current policy period, which ran from March 12, 2020, through

March 12, 2021.

       54.      The D&O Policy issued by the Insured included Directors and Officers Liability

Insurance with an aggregate limit of liability of $3,000,000.

       55.      The D&O Policy is governed by the laws of the state of incorporation for the

insured organization, in this case the National Association, a Florida not-for-profit.


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       56.       The D&O Policy defines “Insured Organization” as the National Association, and

“Insured Person” as “any past, present or future director, officer, trustee, Employee, advisory

board member or any committee member of a duly constituted committee of the Insured

Organization.”

       57.       The D&O Policy defines “Loss” as “damages, settlements, judgments (including

pre- and post-judgment interest on a covered judgment) and Defense Expense.” “Defense

Expense” is defined as “reasonable and necessary legal fees and expenses incurred, with the

insurer’s consent, by any insured in defense of a Claim.”

       58.       The D&O Policy provides that if a “Claim” is made for a “Wrongful Act,” the

Insurer will pay for (i) all “Loss” for which the “Insured Organization is required or permitted to

indemnify the Insured Person” and (ii) all “Loss” the Insured Organization is legally obligated to

pay.” “Wrongful Act” is defined as “any actual or alleged act, error, omission, misstatement,

misleading statement, neglect, or breach of duty *** by: 1. an Insured Person ***; or

2. The Insured Organization.”

                  Volpe Assignment and Judgment Against National Association

       59.       On February 22, 2021, following the failure of the National Association and the

Negotiating Committee to obtain a new PBA and the subsequent loss of its affiliation with an

MLB team, plaintiff filed a complaint against the National Association and Tom Volpe, and

other defendants in Marion County Circuit Court in Oregon, Case No. 21CV06637 (the

“Action”). The complaint alleged, among other claims, the National Association and Volpe

breached their fiduciary duties to plaintiff. A copy of the complaint is attached as Exhibit 2 and

incorporated herein by reference.

       60.       The National Association filed a motion to compel arbitration for the claims

asserted in the Action, which was granted. The order granting the motion to compel also



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included SEI’s claims against Volpe. Accordingly, the trial court stayed the complaint against

both the National Association and Volpe pending resolution of the arbitration.

       61.      On February 24, 2022, plaintiff filed a demand for arbitration and served it on the

National Association and Volpe. A copy of the arbitration demand and statement of claim is

attached as Exhibit 3 and incorporated herein by reference. On information and belief, the

National Association tendered the demand for arbitration to defendant for defense and indemnity

under the D&O Policy. On information and belief defendant denied both coverage and defense

of the claim.

       62.      On June 20, 2022, plaintiff filed a first amended statement of claim in the

arbitration. A copy of the first amended statement of claim is attached as Exhibit 4 and

incorporated herein by reference.

       63.      On information and belief, the National Association tendered one or more of

(i) the complaint, (ii) the arbitration demand and statement of claim, or (iii) the first amended

statement of claim (collectively the “National Association’s Notices of Claims”) to defendant for

defense and indemnity under the D&O Policy. On information and belief, defendant denied both

coverage and defense of the claims stated in the National Association’s Notices of Claims.

       64.      On or about February 2, 2023, the National Association formally dissolved as a

Florida nonprofit corporation. Thereafter the National Association ceased participating in the

arbitration. On July 10, 2023, plaintiff filed a second amended statement of claim. A copy of

the second amended statement of claim is attached as Exhibit 5 and incorporated herein by

reference.

       65.      On information and belief, Volpe tendered one or more of (i) the complaint,

(ii) the arbitration demand and statement of claim, (iii) the first amended statement of claim, or

(iv) the second amended statement of claim (collectively the “Volpe’s Notices of Claims”) to


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defendant for defense and indemnity under the D&O Policy. On information and belief,

defendant denied both coverage and defense of the claims stated in Volpe’s Notices of Claims.

       66.      On or about August 17, 2023, Volpe assigned all his rights as an insured under the

D&O Policy to plaintiff. A copy of the assignment is attached hereto as Exhibit 6 and

incorporated herein by reference.

       67.      On September 21, 2023, the Marion County Circuit Court entered an order setting

aside its prior order compelling arbitration as to the claims against the National Association.

       68.      On January 10, 2024, a General Judgment by Default and Money Award against

the National Association was entered in Marion County Circuit Court in the amount of

$5,550,000. A copy of the judgment is attached as Exhibit 7 and incorporated herein by

reference.
                                          COUNT I
                                  BREACH OF CONTRACT
                         (as Judgment Creditor for National Association)

       69.      SEI realleges paragraphs 1 through 68 and incorporates them herein.

       70.      At all material times, the National Association was an insured under the D&O

Policy, which is a binding, valid, and enforceable insurance contract.

       71.      Under the D&O Policy, RSUI promised to pay the loss of any insured person

arising from a “Claim” made against such insured person for any “Wrongful Act.”

       72.      In the Underlying Action, SEI alleged a “Claim” that it suffered damages as a

direct result of the National Association’s “Wrongful Acts,” as more fully described in paragraph

46 above.

       73.      RSUI, through the acts of its agents, representatives, and/or employees, failed to

perform its duties and/or obligations under the D&O Policy and thus breached the contract by its



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acts or omissions as alleged herein, including without limitation, its failure and refusal to:

(i) acknowledge defense or indemnity coverage with respect to the claims asserted against the

Insureds in the Underlying Action, and (ii) consent to a reasonable settlement of the claims

against the Insureds and tender policy limits.

       74.     SEI obtained a judgment against the National Association based on the allegations

and claims asserted in the Underlying Action.

       75.     SEI is a judgment creditor of the National Association and holds a judgment in

the amount of $5,550,000 plus interest at 9% per annum.

       76.     Under New Hampshire and Florida law, as a judgment creditor of the National

Association, SEI is a third-party beneficiary of the D&O Policy and has the right to payment of

all amounts payable by RSUI on behalf of the National Association under the D&O Policy.

       77.     RSUI breached the D&O Policy by failing to pay the “Loss” (i.e., the judgment)

arising from the “Claim” based on a “Wrongful Act” committed by the National Association.

       78.     As a direct, proximate, and natural result of the breach of RSUI, the National

Association, and SEI as its judgment creditor, have been deprived of the benefits due under the

D&O Policy and have suffered foreseeable damages.

       79.     SEI is entitled to damages from defendant up to the lesser of (i) $5,550,000 or

(ii) the full amount of the limits of coverage under the D&O Policy.

                                          COUNT II
                                   BREACH OF CONTRACT
                                     (as Assignee of Volpe)

       80.     SEI realleges paragraphs 1 through 79 and incorporates them herein.

       81.     During the policy period, Volpe was a member of the BOT of the National

Association and was a member of the Negotiating Committee as described more fully above and


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the statement of claim, the first amended statement of claim, and the second amended statement

of claim and is an “Insured Person” under the D&O policy.

       82.     In the Underlying Action, SEI alleged a “Claim” that it suffered damages as a

direct result of Volpe’s “Wrongful Acts,” as more fully described in paragraph 46 above.

       83.     Under the D&O Policy, RSUI was obligated to pay Volpe for his loss arising

from the claims in the Underlying Action, as Volpe was a member of the BOT and the

Negotiating Committee.

       84.     Volpe has assigned all his rights as an Insured Person under the D&O Policy to

SEI.

       85.     SEI is entitled to recover from Insurer any amounts paid by Volpe to defend or

settle the “Claims” alleged by SEI in the Action, in an amount to be proven at trial but estimated

to be not less than $266,000.

                                    COUNT III
                       CIVIL REMEDY UNDER FLA. STAT. §624.155
       86.     SEI realleges paragraphs 1 through 79 and incorporates them herein.

       87.     RSUI violated §624.155(1)(b)(1) by not attempting in good faith to settle claims

on behalf of its insureds, the National Association and Volpe. RSUI failed to properly and

promptly defend the claims asserted against the Insureds by SEI. RSUI made no effort to settle

the claims asserted against the National Association. And Volpe ultimately settled with SEI on

his own to avoid greater liability to SEI and additional defense costs.

       88.     RSUI violated §624.155(1)(b)(1) by denying the claim without conducting a

reasonable investigation. In fact, RSUI never appointed defense counsel on behalf of the

National Association or Volpe to evaluate the claims asserted by SEI or engage in the discovery

process to ascertain the Insured’s potential liability.




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       89.       On November 29, 2024, SEI submitted a Civil Remedy Notice of Insurer pursuant

to Section 624.155 of the Florida Statutes (the “CRN”). The CRN complied with all provisions

of Fla. Stat. §624.155(3)(b).

       90.       On December 2, 2024, SEI mailed a copy of the CRN to RSUI.

       91.       RSUI received a copy of the CRN no later than December 11, 2024.

       92.       RSUI failed to tender the lesser of the policy limits or the amount demanded by

SEI within 90 days after receipt of the CRN.

       93.       SEI is entitled to its actual damages of $5,550,000.

       94.       Pursuant to Fla. Stat. §624.155(7), SEI is entitled to recover its reasonable

attorney fees.

                                      PRAYER FOR RELIEF

       WHEREFORE, plaintiff prays for a judgment as follows:

       1.        On Count I, judgment against defendant for $5,500,000 or policy limits,

whichever is less;

       2.        On Count II, judgment against defendant for an amount to be proven at trial, but

not less than $266,000;

       3.        On Count II, judgment against defendant for an amount to be proven at trial, but

not less than $266,000;

       4.        An award of pre- and post-judgment interest at the legal rate;

       5.        An award of SEI’s costs and disbursements incurred in this action;

       6.        An award of SEI’s reasonable attorney fees and costs; and

       7.        For any other relief the court deems just and appropriate.




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                                    Demand for Jury Trial

       Plaintiff hereby demands a jury trial as provided by Rule 38(a) of the Federal Rules of

Civil Procedure.



DATED: June 3, 2025

                                            Respectfully Submitted,


                                            LAW OFFICE OF R. TERRY PARKER LLC

                                             /s/ R. Terry Parker
                                            R. Terry Parker, Esq. (NH Bar No. 268605)
                                            P.O. Box 1973
                                            Concord, NH 03301
                                            Telephone: (603) 496-8473
                                            Email: terry@rterryparkerlaw.com


                                            TARLOW NAITO & SUMMERS LLP

                                             /s/ Alexander M. Naito
                                            Alexander M. Naito
                                            2014 NE Broadway
                                            Portland Oregon 97232
                                            Telephone: (503) 968-9000
                                            Email: alex.naito@tnslaw.net

                                            Pro Hac Vice Application forthcoming

                                            Steven L. Naito
                                            2014 NE Broadway
                                            Portland Oregon 97232
                                            Telephone: (503) 968-9000
                                            Email: steve.naito@tnslaw.net

                                            Pro Hac Vice Application forthcoming

                                            Attorneys for Plaintiff
                                            Sports Enterprises, Inc.




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